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                                                                  February 16, 2018

        Via ECF

        The Honorable P. Kevin Castel
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, NY, 10007-1312

                       Re:     United States v. Bergstein, 16 cr. 746 (PKC)

        Dear Judge Castel:

                We write in response to the Court’s proposal that the Court deliver portions of the jury
        instructions prior to the close of evidence. As the Court observed, Rule 30 of the Federal Rules
        of Criminal Procedure states that the court “may instruct the jury before or after the arguments
        are completed, or at both times.” Before the rule was amended in 1987, it required that jury
        instructions follow closing arguments. The advisory committee notes state that the rule was
        amended “to give the court discretion to instruct the jury before or after closing arguments, or at
        both times.” It seems implicit in the advisory committee notes that the jury instructions will
        follow the close of evidence, and be given immediately prior to or following closing arguments.
        Indeed, breaking up jury instructions over the length of the trial creates the risk that the jury will
        not consider the instructions as a whole.

                The case defense counsel was thinking of yesterday was United States v. Yakobowicz,
        427 F.3d 144, 153 (2d Cir. 2005), in which the Second Circuit held that an interim summation
        procedure violated a defendant’s right to a fair trial. The defendant respectfully submits that
        delivering the final jury instructions in sections while the trial is ongoing creates equally high
        dangers, as instructions on important legal concepts will be delivered in bits and pieces while the
        jury continues to hear the evidence. Further, instructing the jury before the close of evidence
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      raises the possibility that the applicability of the instruction could be undermined by later
      evidence. That would also violate a defendant’s right to a fair trial.

                                                            Respectfully submitted,

                                                            SATTERLEE STEPHENS LLP

                                                            /s/ Andrew L. Fish
                                                            Andrew L. Fish

                                                            BIENERT, MILLER & KATZMAN, PLC

                                                            /s/ Thomas H. Bienert, Jr.
                                                            Thomas H. Bienert, Jr.

      cc: All counsel (via ecf)
